                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                 No. 02-23-00187-CV

JOSEPH SAMUEL MCCREARY, III,                §   On Appeal from the 481st District Court
Appellant/Cross-Appellee
                                            §   of Denton County (18-6047-211)

V.                                          §   August 22, 2024

LAURA MCCREARY, Appellee/Cross-             §   Memorandum Opinion by Justice Walker
Appellant

                                     JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was error in part of the trial court’s judgment. It is ordered that the judgment of the

trial court is affirmed in part and reversed in part. We reverse that portion of the trial

court’s judgment regarding the spousal-maintenance award in the final decree and

render judgment that Appellee/Cross-Appellant Laura McCreary take nothing. We

affirm the remainder of the judgment.

      It is further ordered that both parties shall bear the costs of this appeal, for

which let execution issue.
SECOND DISTRICT COURT OF APPEALS


By /s/ Brian Walker
   Justice Brian Walker
